Case 1:25-cv-02172 Document1-3 Filed 07/08/25 Pagelof1
Dear Emily Rutherford Lambert,

| am wanting to settle the property settlement. You have paid into the house:

Approx 24 payments of $700.00 which equals out to $16,800. | am willing to pay what you paid in and
half of what the house was contracted to be paid for, which is what you asked for, which is $45,000. |
will also give you the $2,500 in the property as you requested. If you agree then you are signing over
your rights to the property of 985 Prospector Road, Hackleburg, AL, 35564. You also release me from
any other compensation from the claim. Please let me know if you agree with this and if so | will need
this signed and notarized and sent back to me. Then | will issue a check and mail it to you for that
amount.

$16,800 for payments made

$45,000 Half of contractual value

$2,500 Items in house

Total compensation would be: $64,300

lf you want the half of the property then you would owe half of what is owed on property which is:
$55,000 / 2 = $27,500

16,800 for your payments of house

| will pay you the $2,500 for the items in the house fire.

So you can pay $25,000 and still own half of the property of 985 Prospector Rd, Hackleburg, AL 35564

Thanks,

tA CEO. ~ a 4D

Angie Clements

Acknowledgement

Stateof_ Cu aay Kutharferd

County of

The foregoing instrument was acknowledged before me this
day of 0

Tinie Ba

(printed manme of peoreots ack mors hodlenced

Notary Public

